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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION



 JEFFREY DALE GRANTHAM,                                   )
                                                          )
                  Plaintiff,                              )
                                                          )          CIVIL ACTION NO.
 vs.                                                      )
                                                          )          5:09-cv-00001-LGW-JEG
 CSX TRANSPORTATION, INC., a                              )
 corporation,                                             )
                                                          )
                  Defendant.                              )

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        Come now the Plaintiff, Jeffrey Dale Grantham, by and through his attorney, and the

Defendant, CSX Transportation, Inc., by and through its attorney, and show unto the Court as

follows:

        1.       That Plaintiff and Defendant are represented by counsel and have joined in this

stipulation.

        2.       That a compromise settlement has been negotiated and the agreed settlement sum

has been paid.

        3.       It is hereby stipulated that this case may be forthwith DISMISSED, WITH

PREJUDICE, with respect to each count, claim and cause of action that has been brought herein

against said Defendant, or that could have been brought herein against said Defendant.

        4.       It is further stipulated that each party shall bear its own costs.

        Respectfully submitted this 29th day of July, 2010.



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                                       BURGE & BURGE

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                                       THE JORDAN FIRM


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                                       ATTORNEY FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2010, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all counsel of
record.


                                       s/F. TUCKER BURGE
                                                   OF COUNSEL




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